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CAUSE: PLAINTIFFS DEFENDANTS

| RAINES, Gerald L. | (1) |DeFRANCO, Ralph T. |

(2) MARINO, Carmen

(3) PATTON, Timothy

CAUSE
(CITE THE U.S. CIVIL STATUTE UNDER WHICH THE CASE
(S FILED AND WRITE A BRIEF STATEMENT OF CAUSE)
42 U.S.C. §1981, 1983, 1982, 1985(3), 1986 - Civil Rights.

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Cuyahoga - #3

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7/22/88 | 1 (3) APPLICATION of pltf to proceed in forma pauperis. (3 2) (iL,
7/22/88 2 DECLARATION of pltf in support of req to proceed in fo -ma pauperis. (2 p) (J.
7/28/85 3 .{1) MARGINAL Ent Ord granting applic of pltf to proceed in forma pauperis.
} | Aldrich, J. Issd. (1 p) (EOD 7/29/88) (JA
7/29/88 ; 4 COMPLAINT. Summ, Complt issd to U.S.Marshal on 7/29/88. (15 p) (Ji
8/15/88 | 5. ANSWER of deft Ralph T. DeFranco. c/m 8/15/88. (5 p) (JA
8/16/88 6 SUMMONS Retn. Srv Ralph J. Defranco by cert mail on €/3/88; Carmen Mario

srv by cert mail addressed to Cuy Co. Prosecutors Office on 8/3/88;
Timothy Patton srv by cert mail addressed to Homacide Unit CPD on

| 8/3/88. Fees $9.00. (3 p) (JA
8/24/88 . 7(19) MOTION of pltf for leave to file an amd complt w/memo in supp.
. c/m 8/22/88. (3 p) (Amended Complt attached) (JA
8/24/88 8 ANSWER of deft Carmen Marino. c/m 8/24/88. (5 p) (JA
8/25/88 9 NOTICE of status call. Aldrich, J. Ised. (2 p) (EOD 8/25/88) (JAM
8/25/88 | 10' ANSWER of deft Timothy Patton. JURY DEMAND. c/m 8/25/88. (6 p) (JA
8/26/88 11 NOTICE that that status call at 4:30 p.m. on 9/22/88 has been cancelled.
HI Issd. (1 p) (JA
8/26/88 12 ORDER returning action to Clerk's Office for reassignment by random draw.
. Aldrich, J. (Reassigned to Judge Krenzler) Issd. (1 p)(EOD 8/26/88)(J
8/29/88 | 13 (21) MOTION of pitf for leave to file mot for appt of counsel. c/m 8/26/88.
(1 p) (Mot for appt attached) (JA
8/30/88 14. STANDARD ORDER re: Preparation for Tr-Revised & effec 8/1/87.
, Krenzler, J. issd: 8/30/88 (5lp) EOD: 8/30/88 (vD)
9/9/88 | 15, ANSWER of deft. Ralph T. DeFranco to amd complt. c/m 9/7/88
| (3p) (vp)
9/21/88 | 16 | LETTER of pltf re: status of case. (lp) (vD)
10/4/88 17. MOTION of pitf to tsfr facility. (4p) (vo)
L1/4/88 18 (22) MOTION of petr for lv to file notice of perjury and inter-
* ference to the Court. cm 10/27/88 (8p) (VD)
11/15/88 13: (7) MARGINAL entry order granting lv to file amd complt. Xrenzler, J. issd:
i 4 11/15/88 (EOD: 11/15/88) (Vo
11/15/88 - 20 AMENDED complt. (Vi

11/30/88 .21 (13) MARGINAL entry order-Mot. overruled as moot for appt of counsel of pltf.
Krenzler, J. Issd 11/30/88. EOD: 12/2/88. (1 p) pel
11/4/88 | 22 (18) MARGINAL entry order-Mot. overruled as moot for leave to file notice of perj
| & interferrence to the court of pltf. Krenzler, J. Issd 11/30/88. EOD:
12/2/88. (1 p) pel
* 10/17/88 23 (24) MOTION of pltf for leave to file mot for federal protection & emergency noti
to court w/memo & affvt in supp. (5 p) pel
11/30/88 24(23) MARGINAL entry order- Mot overruled as moot of pltf for leave to file mot fo
federal protection & emergency notice to the court. Issd 11/30/88. EOD:
oe 11/30/88. (5 p) pel
11/30/88 25 | MEMORANDUM of Opinion Re: dism, sua sponte, dism pltf's complt w/prej, purs
to Fed. R. Civ. P. 12(b)(6) for failure to state a claim upon which reli:
may be granted. Krenzler, J. Issd. 11/30/88. EOD: 12/2/88. (7 p) pel
ORDER of dism. Memo of Opinion Re: Dism, hereby dism pltf's complt, w/prej.
Krenzler, J. Issd 11/30/88. EOD: 12/2/88. (1 p) pel

NOTICE of appeal by pltf, re: 12/5/88. (lp) (EOD 12/8/88) cas

11/30/88 26

12/8/88 27

12/28/88 ACKNOWLEDGMENT of recpt of transmission form in USCA. (Recd
, ! 12/12/88, Filed 12/19/88; USCA #88-4150) ces
_ 12/28/88 TRANSCRIPT order form. (nn) cas

2/3/89

CERTIFIED Orig pldg_ mailed to usca. cas

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OC 111A JUDGE KRENZLER
(Rev. 1/75)
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RAINES, Gerald DEFRANCO, Ralph et al PAGE___OF____ pa

PROCEEDINGS

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ACKNOWLEDGMENT of recpt of record in USCA. (Recd 2/6/89, Filed 2/7/89) ¢
TRUE copy of ord from USCA that the judg of the USDC is vacated & the cz
is remanded for further consideration. Green, Clerk. Filed in USCA
5/22/89. Before: Martin, boggs & Contie, circuit Judges. ISSUED AS

MANDATE: 6/15/89; COSTS: None (Record Returned) (3 p) EOD 6/22/89 CAS
MOTION of pltf Raines for voluntary dismissal of complt. c/m 5/28/89,
EOD 7/27/89 ee
MARGINAL Ent Ord granting mot of pltf to dism complt. KRENZLER, J. Is¢
7/27/89, EOD 7/28/89 ee
